Name,Case  8:20-cv-00848-JWH-KES
      Address                               Document
              and Telephone Number of Attorney(s):               23 Filed 01/23/21 Page 1 of 1 Page ID #:120
                                                                                                               CLEAR FORM
John R. Sommer (SBN 106355)
17426 Daimler Street, Irvine, CA 92614
(949) 752-5344, SOMMERJOHNR@GMAIL.COM
Mediator

                                         UNITED STATES DISTRICT COURT
                                        CENTRAL DISTRICT OF CALIFORNIA
                                                                    CASE NUMBER
ALEX MISCIONE
                                                                                  8:20-CV-00848-JLS-KES
                                                Plaintiff(s)
                              v.
CARDONE TRAINING TECHNOLOGIES, INC.
                                                                                  MEDIATION REPORT

                                                Defendant(s).
Instructions: The mediator must file this Report within 5 days after the conclusion of a mediation session even
if the negotiations continue. If the case later settles with the assistance of the mediator, the mediator must file
a subsequent Report.
1.        ✔   A mediation was held on (date): January 18, 2021                     .
              A mediation did not take place because the case settled before the session occurred.
2.      The individual parties and their respective trial counsel, designated corporate representatives, and/or
        representatives of the party's insurer:
                ✔   Appeared as required by L.R. 16-15.5(b).
                    Did not appear as required by L.R. 16-15.5(b).
                                Plaintiff or plaintiff's representative failed to appear.
                                Defendant or defendant's representative failed to appear.
                                Other:
3.      Did the case settle?
                ✔   Yes, fully, on January 18, 2021               (date).
                    Yes, partially, and further facilitated discussions are expected. (See No. 4 below.)
                    Yes, partially, and further facilitated discussions are not expected.
                    No, and further facilitated discussions are expected. (See No. 4 below.)
                    No, and further facilitated discussions are not expected.
4.      If further facilitated discussions are expected, by what date will you check in with the parties?




Dated: January 23, 2021                                                              /John R. Sommer/
                                                                                  Signature of Mediator
The Mediator must electronically file original document in CM/                       John R. Sommer
ECF using one of four choices under "Civil => Other Filings =>                    Name of Mediator (print)
ADR/Mediation Documents => Mediation Report (ADR-3)."

ADR-03 (10/19)                                         MEDIATION REPORT                                      Page 1 of 1
